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EASTERN DISTR.ICT OF NEW YORK *
x JUN' ll 9 ZEIB ir
CHAREESE KHAM|S, lndividually and as Mother and Natural .
oman of ANGELlNA anMls and TAYLoR BONITO, BROOKLYN oFF'CE
infants under the age of eighteen years,
Plaintiffs' STIPULATION AND
ORDER OF
`-against- SETTLEMENT AND
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THE CITY OF NEW YORK, DETECTIVE RA¥MOND

Wl”l"l`lCK, Shield No. 710, Tax lD No. 905308, lndividually

and in his Of’ficial Capacity and P.O.’s “JOHN DOE” #1-10, 08-CV-4029 (.FBW)(VVP)
[ndividually and in their Off'lcial Capacit_v (the name Jehn Doe

being iictitious, as the true names are presently unknown),

Defendants.

 

WHEREAS, plaintiffs Cl-IAREESE KHAMIS, ANGELINA KHAMIS, and TAYLOR
BONlTO commenced an action entitled Chareeg Khamisl et al. v. City gf New Yorl_c, et al., OS-CV-
4029 (JBW)(VVP), on October 2, 2008, by filing a complaint in the United District Court for the
Eastem District of New York, alleging, inter alia, violations of their civil rights pursuant to 42 USC §
1983; and

WHEREAS, defendants have denied any and all liability arising out of plaintiff`s’
allegations; and

WHEREAS, the parties now desire to resolve the issues raised in their litigation,
without further proceedings and without admitting any fault or liability;

WHEREAS, plaintiff CHAREESE KHAMIS, for herself and for her plaintiff infant
daughter, ANGELINA Kl-IAMIS, and plaintiff infant son, TAYLOR BONITO, has authorized counsel
to settle this matter on the terms enumerated below;

NOW, THEREFORE, lT IS HEREBY STlPULATED AND AGREED, by and

between the undersigned, as follows:

 

l. The above-referenced action is hereby dismissed with prejudice, and without costs,
expenses, or fees in excess of the amount specified in paragraph “2” below.

2. The City of New York, on behalf of defendants City of New York and Detective
Raymond Wittick, hereby agree to pay plaintiffs the total sum of FIFI'EEN THOUSAND
($15,000.00) DOLLARS in full satisfaction of all claims, including claims for costs, expenses and

attorney fees.

3. In consideration for the payment of this sum, plaintiffs agree to the dismissal of all
the claims against the defendants City of New York and Detective Raymond Wittick in this
action, and to release defendants and any present or fenner employees or agents of the New York
City Police Department and the City of New York, and their successors or assigns, from any and
all liability, claims, or rights of action arising from and contained in the complaint in this action,
including claims f`or costs, expenses and attorney fees.

4. Settlement of the claims of the infant plaintiffs ANGELINA KHAMIS AND
'I`AYLOR BONITO are conditioned on compliance with the provisions set forth in Rule 83.2(a)
of the Local Civil Rules of this Court (“Settlement of Actions by or on Behalf of Infants or
Incompetents, Wrongful Death Actions, and Conscious Pain and Suffering Actions”), and Rule
1207, et seq., of the Civil Practice Laws and Rules for the State of New York.

5. Plaintiffs shall execute and deliver to defendants’ attorney all documents necessary
to effect this settlement, including, without limitation, a release based on the terms of paragraph
“2” above and an Affidavit Concerning Liens.

6. Nothing contained herein shall be deemed to be an admission by any of the
defendants that they have in any manner or way violated plaintiffs’ rights, or the rights of any
other person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations of
the United States, the State of New York, or the City of New York or any other rules, regulations

or bylaws of any department or subdivision of the City of New York. This stipulation and

 

settlement shall not be admissible in, nor is it related to, any other litigation or settlement

negotiations

7. Nothing contained herein shall be deemed to constitute a policy or practice of the
City of New York.

8. This Stipulation and Order contains all the terms and conditions agreed upon by the

parties hereto, and no oral agreement entered into at any time nor any written agreement entered into
prior to the execution of this Stipulation and Order regarding the subject matter of the instant

proceeding shall be deemed to exist, or to bind the parties hereto, or to vary the terms and conditions

contained herein.

Dated: New York, New York

 

 

May 26, 2009
COl-IE.N & FITCH MlCHAEL A. CARDOZO
Attorneyfor Plaintij.i' Corporation Counsel of the
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York, New York 1000'7 Attomey for Defendants
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omld M cohen (Gc 0414) “~ gugh A zubi=r (Hz 4935)
Assistant Corporation Counsel
SO ORDERED:

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.JACKB WEl`NSTElN, U. S. D. J

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